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7
8                  IN THE UNITED STATES DISTRICT COURT FOR THE
9                         EASTERN DISTRICT OF CALIFORNIA
10
                                       )   No. 2:10-CR-237 GEB
11   UNITED STATES OF AMERICA,         )
                                       )   STIPULATION AND ORDER EXTENDING
12                Plaintiff,           )   BRIEFING SCHEDULE AND CONTINUING
                                       )   HEARING ON DEFENDANT'S MOTION TO
13        v.                           )   DISMISS INDICTMENT
                                       )
14   GARY JASON GRANT, et al.,         )   Court: Hon. Garland E. Burrell
                                       )   Date: December 16, 2010
15                Defendants.          )   Time: 9:00 a.m.
                                       )
16                                     )
17
18        Whereas, the United States desires additional time to
19   respond to defendant Gary Jason Grant's motion to dismiss the
20   Indictment 1,
21        It is hereby stipulated and agreed by and between plaintiff
22   United States of America, on the one hand, and defendant Gary
23   Jason Grant, on the other hand, through their respective
24   attorneys, that the briefing and hearing schedule on Grant's
25   motion to dismiss the Indictment shall, with the Court's
26
27
          1
               No other defendant in this case has joined in Grant's
28   dismissal motion.

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1    approval, be modified as follows to allow the United States
2    additional time to prepare its response to the motion:
3          1.     The United States' response shall be due on December 9,
4    2011;
5          2.     Any defense reply shall be due on December 30, 2011;
6    and
7          3.     The hearing on the motion shall be reset from December
8    16, 2011, to January 6, 2012, at 9:00 a.m.           Courtroom Clerk Shani
9    Furstenau has advised that the Court is available on this date.
10   Dated:     December 6, 2011                 /s/ Preeti K. Bajwa
                                                 ___________________________
11                                               PREETI K. BAJWA
                                                 Attorney for Defendant
12                                               Gary Jason Grant
                                                 (per email authorization)
13
14   Dated:     December 6, 2011                 BENJAMIN B. WAGNER
                                                 UNITED STATES ATTORNEY
15
                                                       /s/ Samuel Wong
16                                               By:   _______________________
                                                       SAMUEL WONG
17                                                     Assistant U.S. Attorney
18                                       ORDER
19         The Court, having received, read, and considered the
20   stipulation of the parties to modify the briefing schedule and
21   reset the hearing date on defendant Gary Jason Grant's motion to
22   dismiss the Indictment, and good cause appearing therefrom,
23   adopts the stipulation of the parties in its entirety as its
24   order.     IT IS SO ORDERED.
25   Dated:     December 8, 2011
26
27                                    GARLAND E. BURRELL, JR.
28                                    United States District Judge


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